
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be affirmed, with costs. For the reasons stated by the Appellate Division and Special Term regarding the statutory waiver of sovereign immunity under ECL article 27, title 11, the certificate of environmental safety and public necessity was improperly granted because the proposed hazardous waste facility would violate a local zoning ordinance. In view of this determination, it is unnecessary for us to pass on the failure of the Department of Environmental Conservation to publish regulations in a timely manner or the refusal of its designee to recuse himself from his position on the Facility Siting Board.
Chief Judge Wachtler and Judges Jasen, Meyer, Simons, Kaye and Alexander concur.
Order affirmed, with costs, in a memorandum.
